         Case 1:14-vv-00824-UNJ Document 45 Filed 03/06/17 Page 1 of 4




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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AFTON J. MONTGOMERY,                  *
Individually and on behalf of         *      No. 14-824V
her minor child, CADEN J. BENOIT, *          Special Master Christian J. Moran
                                      *
                   Petitioner,        *
                                      *      Filed: February 8, 2017
v.                                    *
                                      *
SECRETARY OF HEALTH                   *      Attorneys’ fees and costs
AND HUMAN SERVICES,                   *
                                      *
                   Respondent.        *
                                      *
*********************
Craig S. Watson, Craig S. Watson Attorney at Law, Baton Rouge, LA, for
petitioner;
Michael L. Cave, Cave Law Firm, Baton Rouge, LA, former counsel for petitioner;
Adriana R. Teitel United States Dep’t of Justice, Washington, DC, for respondent.

              UNPUBLISHED DECISION ON FEES AND COSTS 1

       On December 05, 2016, petitioner moved for final attorneys’ fees and costs
in the above-captioned matter. Petitioner requests a total of $20,153.34. The
Court awards $19,878.34.

       On September 5, 2014, Ms. Montgomery, represented by Michael Cave,
filed a petition under the National Childhood Vaccine Injury Act, 42 U.S.C. §300a-
10 et. seq., alleging that her son suffered from mumps and other injuries as a result
of routine childhood vaccinations, including the MMR vaccine, which were

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  The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website.
Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of
medical information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any
redactions ordered by the special master will appear in the document posted on the website.
        Case 1:14-vv-00824-UNJ Document 45 Filed 03/06/17 Page 2 of 4



administered on September 8, 2011. See Pet. at 1. About one year later, Mr. Craig
Watson was substituted as the attorney of record. ECF No. 29. A detailed
procedural history of this case can be found in the order to show cause, filed
February 26, 2016. Ms. Montgomery was unable to obtain a report from an expert
presenting the opinion that the vaccinations Caden received caused him some
harm, resulting in the case being dismissed for insufficient proof. Decision, 2016
WL 2930978.

       Even though compensation was denied, a petitioner who brings her petition
in good faith and who has a reasonable basis for the petition may be awarded
attorneys’ fees and costs. See 42 U.S.C. § 300aa–15(e)(1). Here, counsel for
petitioner gathered and filed medical records, engaged in settlement discussions,
attempted to obtain an expert report, and moved for a decision on the record when
further investigation revealed that petitioner was unlikely to prove her case. Thus,
because petitioner’s counsel acted in good faith and because there was a reasonable
basis for proceeding, petitioner is eligible for an award of attorneys’ fees and costs.
Respondent does not contend that petitioner failed to satisfy these criteria.

       The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate . . . by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348.

                                    *     *      *

       Petitioner seeks a total of $15,108.20 ($13,215.00 in attorneys’ fees and
$1,893.200 in costs) for her current counsel and $4,771.11 ($4,170.83 in attorneys’
fees and $600.28 in costs) for her former counsel. In compliance with General
Order No. 9, petitioner states that she advanced no monies for reimbursable costs
in pursuit of her claim.

       For hourly rates, petitioner’s current attorney, Mr. Watson proposed $300
per hour and petitioner’s former counsel, Mr. Cave proposed $275 per hour. These
are reasonable rates.

      The second factor in the lodestar formula is a reasonable number of hours.
                                           2
         Case 1:14-vv-00824-UNJ Document 45 Filed 03/06/17 Page 3 of 4



Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See Shea v. Secʼy of Health & Human
Servs., No. 13-737V, 2015 WL 9594109, at *2 (Fed. Cl. Spec. Mstr. Dec. 10,
2015) (“special masters are not obligated to evaluate an attorney’s billing records
on a line-by-line basis in making the reasonableness determination . . . and
certainly need not do so when Respondent has not attempted to highlight any
specific alleged inefficiencies”).

      The hours that both current counsel and former counsel worked are
reasonable. However, the invoice from former counsel contains a math error.
Thus, one hour ($275) of Mr. Cave’s time is adjusted.

       In addition to seeking attorneys’ fees, the petitioner seeks an award of costs
for her current attorney and her former counsel. All costs are reasonable, are
documented, and are awarded in full.

       After reviewing the request, the Court awards the following:

       a. A lump sum of $15,108.20 in the form of a check made payable
          to petitioner and petitioner’s attorney, Craig S. Watson, of
          Craig S. Watson Attorney at Law, for attorneys’ fees and other
          litigation costs available under 42 U.S.C. § 300aa-15(e).

           b. A lump sum of $4,770.14 in the form of a check made
              payable to petitioner and petitioner’s former attorney,
              Michael Cave, of Cave Law Firm, for attorneys’ fees and
              other litigation costs available under 42 U.S.C. § 300aa-
              15(e).

In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court shall enter judgment in accordance herewith. 2


2
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.
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 Case 1:14-vv-00824-UNJ Document 45 Filed 03/06/17 Page 4 of 4



IT IS SO ORDERED.

                                   s/Christian J. Moran
                                   Christian J. Moran
                                   Special Master




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